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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 UNITED STATES OF AMERICA

        v.                                                  CASE NO.: :5:21-cr-9

 MARIA LETICIA PATRICIO,
 DANIEL MENDOZA,
 NERY RENE CARRILLO-NAJARRO,
 ANTONIO CHAVEZ RAMOS,
 JC LONGORIA CASTRO,
 ENRIQUE DUQUE TOVAR,
 CHARLES MICHAEL KING,
 STANLEY NEAL MCGAULEY,
 LUIS ALBERTO MARTINEZ,
 DELIA IBARRA ROJAS,
 JUANA IBARRA CARRILLO,
 DONNA MICHELLE ROJAS,
 MARGARITA ROJAS CARDENAS,
 JUAN FRANCISCO ALVAREZ CAMPOS,
 ROSALVA GARCIA MARTINEZ,
 ESTHER IBARRA GARCIA,
 BRETT DONAVAN BUSSEY,
 LINDA JEAN FACUNDO,
 GUMARA CANELA,
 CARLA YVONNE SALINAS,

                Defendant.

                  AMENDED SCHEDULING AND DISCOVERY ORDER

       This matter is before the Court on the Government’s Motion for Additional Time to File

Its 404(b) Notice and Expert Disclosures. Doc. 607. In its motion, the Government requests 60-

day extensions of the deadlines for it to file provide its Rule 404(b) notices and expert witness

notices. The Government represents that it has conferred with counsel for all Defendants who

have appeared in the case, and no Defendant opposes the request, except Defendant Antonio

Ramos Campos. In support of its request, the Government states it expects 14 of the 21
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Defendant’s right to a fair trial. The Court also finds the request is for the purpose of allowing

reasonable time necessary, assuming the exercise of due diligence, for counsel to effectively

prepare their case in that counsel needs additional time to review discovery, prepare and file

pretrial motions, and obtain expert witness reports. Therefore, pursuant to 18 U.S.C. §

3161(h)(7), and on the basis of the Court’s finding that the ends of justice served by granting the

extension outweigh the best interests of the public and Defendant in a speedy trial, the Court

grants the requested time. The period of time—June 15, 2023 through and including October 9,

2023—is excluded in computing the time within which trial of this matter may commence.

       Pretrial Motion Instructions. A party must file a separate motion for each form of

relief sought; consolidated motions are not permitted. A responding party may file a

consolidated response to multiple motions when doing so does not create confusion or

ambiguity.

       In multi-defendant cases, a defendant shall not file a motion that merely adopts or

incorporates by reference a motion or argument by a co-defendant. Each defendant must file a

separate motion containing a complete discussion of the evidence and arguments. The Clerk

assigns a unique number to each defendant in a multi-defendant case. For example, in case 4:23-

CR-55, the Clerk assigns the number one to the first defendant: 4:23-CR-55-001. All motions

and responses in multi-defendant cases must include the defendant-specific case number .

       The Government and defense counsel are reminded of their responsibility under Federal

Rule of Criminal Procedure 16.1 and Local Criminal Rule 16.1 to confer regarding discovery.

Considering the Government’s customary practice of providing liberal discovery, many (if not

all) routine discovery motions may be satisfied without the need for Court intervention.




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       Rule 5 Instruction. In accordance with Fed. R. Crim P. 5(f)(1), the Court confirms the

prosecutor’s obligation to produce all exculpatory evidence to the defense in accordance with

Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Failure to timely perform these

obligations may result in consequences, including exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions. Given this confirmation,

generalized motions seeking assurance of the Government’ s compliance are unnecessary.

       Proposed Voir Dire and Jury Charges. Unless otherwise instructed by the presiding

District Judge, counsel shall file all requests to charge and proposed voir dire questions at least

seven days before jury selection.

       Witness Subpoenas. Counsel representing indigent defendants must make requests for

witness subpoenas or writs for the production of prisoner witnesses at least fourteen days before

the evidentiary hearing or trial. Requests for witness subpoenas must articulate specific facts

demonstrating both the relevancy and necessity of the requested witnesses’ testimony.

       The Court will set a Motions Hearing once the parties’ Joint Status Reports have been

filed for those Defendants who remain in the case and have pending motions requiring a hearing.

       SO ORDERED, this 22nd day of June, 2023.




                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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    This day, _______________.

                                 /s/
                                           Assistant United States Attorney


                                 /s/
                                           Defense Counsel




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